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                     EXHIBIT 44
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  1                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
  2    ________________________________

  3    UNITED STATES OF AMERICA,                CRIMINAL ACTION NUMBER:

  4                                             2:19-cr-00120-KM
       vs.
  5                                             Status Conference (Remotely)
       GORDON J. COBURN and
  6    STEVEN SCHWARTZ,

  7              Defendants.
       ________________________________
  8    MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
       50 Walnut Street, Newark, New Jersey 07101
  9    January 6, 2021
       Commencing at 3:00 p.m.
 10
       B E F O R E:        THE HONORABLE KEVIN MCNULTY
 11                        UNITED STATES DISTRICT JUDGE

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 20    Steven Schwartz, Defendant

 21    Proceedings recorded by mechanical stenography; transcript

 22                 produced by computer-aided transcription.

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                                Newark, New Jersey
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                                Newark, New Jersey
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  1                (PROCEEDINGS held remotely, before The Honorable

  2    Kevin McNulty, United States District Judge, at 3:00 p.m.)

  3                THE COURT:    Good afternoon.     We are here for a status

  4    conference in U.S. v. Coburn, Criminal Docket 19-120.            I know

  5    that you did your appearances.

  6                There were a number of letters, which I've read.           I

  7    won't promise I have absorbed every word, they were complex,

  8    but let's knock them off one by one.

  9                First of all, is there anything anybody wants to say

 10    just going in to structure this whole thing?          Is there a top of

 11    the list, in other words?

 12                MR. LUSTBERG:     Judge, this is Larry Lustberg.       And I

 13    don't know why I say that because you can see who I am but,

 14    nonetheless, it's the way I've always done it.           So, you know,

 15    that's the way --

 16                THE COURT:    All right.

 17                MR. LUSTBERG:     -- I still do it.

 18                THE COURT:    So the person who claims to be Larry

 19    Lustberg, I'll hear you.

 20                MR. LUSTBERG:     So we -- so the defendant sent the

 21    Court a letter on New Year's Eve, I'm sure it's what you did as

 22    you were celebrating the new year, Judge, trying to lay out

 23    what we thought were the issues before the Court in the order

 24    that we thought made some sense to think about them.

 25                Just in terms of summary, this Court set this status
                          United States District Court
                                Newark, New Jersey
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  1    conference date in order to kind of assess where we were after

  2    setting a control date, in quotes, for May.

  3                I think first things first on this list is that there

  4    are a number of -- I think we'd like to kind of get a sense of

  5    where things are in terms of when a trial might be, and I think

  6    a lot of other things will fall into place after that.

  7                As you know, if you read that letter, you know, we

  8    think there are a number of proceedings that are pending and a

  9    number of investigative processes that need to take place in

 10    order for us to be ready for trial, and we don't think at this

 11    point that that May date is even within the realm.           But that

 12    may be in any event because, as I understand it, I don't think

 13    that there's any real likelihood of jury trials of this

 14    magnitude by then anyway.       So --

 15                THE COURT:    I'll stop you there and say that's what

 16    I'm hearing.     From all of us to God's ears, we could be past

 17    this in May but I'd be very surprised.         So unfortunately, that

 18    does seem to be it.

 19                So who will be speaking for the government?

 20                MR. GRIPPO:    I will, Your Honor.      Good afternoon.

 21                THE COURT:    There you are.     Yes, Mr. Grippo, for

 22    practical reasons having to do with what's going on in the case

 23    May is not looking great, but for COVID reasons it's really not

 24    looking great.     I'm afraid -- although I know you're eager to

 25    press forward, and rightly so, I'm afraid that may not be in
                          United States District Court
                                Newark, New Jersey
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  1    the cards.    Though I'm willing to hear you on it if you don't

  2    agree.

  3                MR. GRIPPO:    Understood, Your Honor.       Thank you.

  4                Your Honor, we are eager to press forward but we are

  5    mindful of the current environment and in particular the

  6    COVID-related limitations and the fact that the Court is not

  7    currently handling jury trials or in-court proceedings for the

  8    most part.    Everything has been stayed I think until the

  9    beginning of March.      But with that said, Your Honor, we

 10    think -- so we have no objection to adjourning the trial date

 11    and rescheduling that.

 12                We've read the defendants' letter.        We understand

 13    their request, and we're mindful of the limitations that

 14    continue to exist.

 15                In our view we think a fall trial date is still

 16    realistic at this point.       Hopefully things will improve with

 17    respect to COVID and the operations of the court by then.             That

 18    would still be, you know, several months out from when the

 19    current standing order contemplates the court resuming in-court

 20    proceedings.     It would be several months out from the current

 21    May date, and in our view it gives the parties plenty of time

 22    to resolve the open pretrial issues and prepare for trial.

 23                So our request today is to pick a date in the fall,

 24    in the September or October time period, and then convert the

 25    current May 3rd date to a status conference.          And we can talk,
                          United States District Court
                                Newark, New Jersey
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  1    you know, I think as we go along the list here, about some of

  2    the other scheduling issues that may fall into place with a

  3    schedule along those lines.

  4                THE COURT:    Yes.   So let's start with the big one.

  5    Mr. Grippo is suggesting September, October.          That sounds like

  6    a plan to me, but let me know from the defense side, what do

  7    you think?

  8                MR. LUSTBERG:     Judge, this is Larry again --

  9                THE COURT:    I'll get to you in a second, Mr. Finzi.

 10                Mr. Lustberg, you go first, then Mr. Finzi.

 11                MR. LUSTBERG:     I'm happy to have Mr. Finzi go, but

 12    all I wanted to say was this, Judge.         During -- and we've tried

 13    to point this out in our letter.        During the course of this

 14    pandemic a lot of things have gone by the boards.           There were

 15    court proceedings that could and would have taken place that

 16    didn't.

 17                But among the things that's most critical for us, and

 18    I think this is perhaps what Mr. Finzi wanted to address, is

 19    that our case is a case that involves actions that took place

 20    in India, and we were in the process of doing investigation, as

 21    one would have to do in order to fulfill our obligations as

 22    defense counsel, with regards to the facts of the case in

 23    India.

 24                Obviously we cannot now and we have not been able

 25    to -- for some time now, been able to get on a plane to go do
                          United States District Court
                                Newark, New Jersey
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  1    that investigation and to take the other actions that are

  2    absolutely required for us to fulfill our clients' Sixth

  3    Amendment rights and for us to fulfill our professional

  4    responsibilities.

  5                I will tell you that I am very doubtful that all of

  6    that as well as all the proceedings that have to take place can

  7    be done by the fall.      We have -- speaking -- I don't have a

  8    problem if the Court wants to set some sort of control date of

  9    the sort it set this time for the fall, in quotes, but I do

 10    think that Your Honor should have in mind that we may need more

 11    time at that time.

 12                So I'll let Mr. Finzi finish that thought because I

 13    didn't mean to interrupt him.

 14                THE COURT:    How did he do, Mr. Finzi?

 15                MR. FINZI:    He did great, Your Honor, and the only

 16    thing I was going to say, but Mr. Lustberg covered this

 17    perfectly, is that I think there's two buckets of things here;

 18    one which the government has addressed and one which they

 19    haven't.

 20                The first issue is the bucket of things that need to

 21    be litigated and decided, and this may and likely will need the

 22    Court's intervention, and there are some knotty issues in there

 23    that need to be briefed and perhaps even heard and then

 24    decided.    But there is also, as Mr. Lustberg indicated, a whole

 25    investigation front of this case, a case that is pretty much
                          United States District Court
                                Newark, New Jersey
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  1    totally centered in India.

  2                The conduct took place in India.        The recipient of

  3    the bribe, alleged bribe, is an Indian government official.

  4    The payors of the bribe or the company that is alleged to have

  5    transmitted the bribe is an Indian company, and two of the four

  6    members of the conspiracy identified by the government are

  7    Indian nationals who reside in India.

  8                So all of this is to say there's a tremendous

  9    overseas and India focus to the case, so much so that the

 10    government I believe, and they've acknowledged as much, we have

 11    it in their 302s, they traveled overseas I think more than once

 12    to conduct their interviews and to gather documents and

 13    information, and we need to factor into our timing that we just

 14    need to do the same.

 15                And I am in a position today where I don't think I

 16    could book a trip to India.       And if I could book a trip to

 17    India, I don't think I could make arrangements there for anyone

 18    to meet me.    So I would just like the Court to think about not

 19    just the litigation component but the defense investigation

 20    component as we go forward.

 21                THE COURT:    Sure.    I understand.    Nobody, as you say,

 22    is getting on a plane now.        And even if you did, it's not clear

 23    what you could do when you got there.         So I certainly

 24    understand that.

 25                Anybody else want to be heard on this?
                          United States District Court
                                Newark, New Jersey
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   1               Look, I'm going to put this on for a date in October.

   2    I am mindful that things could get worse between now and

   3    October.   We just don't know.      Maybe things will get better.

   4    We all hope so but we just don't know.

   5               I am putting it on for October.        For now everybody

   6    ought to treat that as a trial date, and I'll give you a

   7    specific date in a minute.       But, of course, I will be taking

   8    the suggestion that the May 3rd date be converted to a status

   9    conference date.     We can regroup at that time and see how it

  10    looks for October.     Maybe we'll know a little more.        Maybe not.

  11               As a judge I hate to be sitting here saying, hey,

  12    maybe, maybe not all the time, but unfortunately we're all in

  13    that position.    So we're just going to do our best.         I am

  14    putting it on for a date in October.

  15               Ms. Creegan, what have we got in October?

  16               THE COURTROOM DEPUTY:       Good afternoon, everyone.

  17    October 4th at 9:00 a.m.

  18               THE COURT:     What day of the week is that?

  19               THE COURTROOM DEPUTY:       It's a Monday.

  20               THE COURT:     All right.    Want to call it Monday, 10/4,

  21    at 9:00 a.m.    Obviously we are going to revisit this on

  22    May 3rd.   We're steering an ocean liner here, and we can't just

  23    make up our mind the week before, hey, let's go to trial.            And

  24    I'm very -- having been in practice I am very conscious that

  25    every minute you spend in front of me implies many, many hours
                          United States District Court
                                Newark, New Jersey
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   1    not in my presence, and I know that.        So that's where we'll

   2    stand for now.

   3               With due regard for the uncertainty about the future

   4    and indeed the present, I want everybody to regard it for now

   5    as a real date and not just treat it as -- I hope I'm doing

   6    something more than blowing hot air here, and I want to put it

   7    on for that date and I would like to have the trial on that

   8    date if at all possible.      So everyone should go at it with that

   9    attitude and not just say, Well, the Judge said October but no

  10    way it's going to be October so let's put our feet up.            Not

  11    that you would do that but you know what I'm saying.

  12               So that's that.     Our dates I think should work back

  13    from that with that in mind.       And if it turns out in May that

  14    that's not the day, well, we will readjust again, but for now

  15    let's work from there.

  16               So that's the big overarching scheduling issue.           Now,

  17    I know that there's another scheduling issue having to do with

  18    an evidentiary hearing on the motion having to do with the SEC

  19    materials.

  20               MR. LOONAM:     Yes, Your Honor.

  21               THE COURT:     Now, are we pulling for that?       Does more

  22    need to be done before we're ready to have that?

  23               MR. LOONAM:     Your Honor, it's James Loonam on behalf

  24    of Gordon Coburn, and it's our position that we are -- that

  25    hearing should be scheduled.       We have an outstanding subpoena
                          United States District Court
                                Newark, New Jersey
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   1    request with Your Honor for materials for interagency

   2    communications between the DOJ and the SEC that can be admitted

   3    during that hearing.      And Your Honor should decide whether to

   4    issue that subpoena in advance of the hearing, but we would

   5    request that the hearing be scheduled for a date reasonably

   6    soon after the return date for that subpoena.

   7               The government argued that the need for this

   8    evidentiary hearing has been mooted by its offer to review SEC

   9    files for notes of the 13 witness interviews that DOJ and SEC

  10    attended together, to review any internal memorandum concerning

  11    the substance of those interviews at the SEC, and for any notes

  12    that the SEC took during joint meetings with Cognizant and L&T.

  13               Our position is that that's inadequate, and we've

  14    been telling the DOJ this for quite some time and have given

  15    them every opportunity to try and avoid this evidentiary

  16    hearing.   And during the course of trying to get information

  17    from DOJ we have not obtained any explanation of the extent and

  18    scope of the full cooperation between DOJ and SEC, but we have

  19    gotten dribs and drabs of information that just raise

  20    additional factual questions.

  21               So, for example, we have learned that DOJ shared all

  22    of the 302s with the SEC, not just the 302s for the 13 witness

  23    interviews that DOJ is willing to look at the notes for.            So

  24    the other half of the interviews that they're not willing to

  25    look at the notes for, you know, or any memoranda generated,
                          United States District Court
                                Newark, New Jersey
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   1    the SEC got those 302s.      And we don't know when.

   2               We know at the latest they got access to a relativity

   3    database some time in November, but we don't know if they got

   4    the 302s for those witness interviews beforehand and whether

   5    DOJ and SEC discussed those interviews and analyzed the

   6    substance of those interviews together.

   7               Similarly, we learned that in October of 2018, months

   8    before this case was indicted, the SEC provided DOJ with its

   9    statement of facts, its draft statement of facts for the

  10    cease-and-desist order against Cognizant.         And so there are

  11    just further indications of DOJ and SEC acting as a team,

  12    sharing resources, closely coordinating in a way that would

  13    suggest under the Risha factors that DOJ's obligations to

  14    review the SEC files go beyond what it has offered to do here.

  15               And so after trying everything we could to avoid the

  16    evidentiary hearing and giving very specific questions to DOJ

  17    to answer, DOJ has taken its position, and we think the only

  18    way to resolve this is through an evidentiary hearing so that

  19    Your Honor has the facts and understands the scope of the

  20    extent of the cooperation between DOJ and SEC so that the Court

  21    can determine the scope of its Brady obligations, which Your

  22    Honor has rightfully noted are of the utmost importance here.

  23               THE COURT:     Right.   But what you tag on the end there

  24    is kind of the important part, which is, look, we're not just

  25    trying to uncover cooperation as if it were some sort of
                          United States District Court
                                Newark, New Jersey
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   1    wrongdoing or something, right?

   2               MR. LOONAM:     Correct.

   3               THE COURT:     This is directed toward a particular

   4    issue.

   5               MR. LOONAM:     Your Honor, that's right --

   6               THE COURT:     Where do you think that's going?        I mean,

   7    maybe you don't know but what's your view of the target here?

   8               MR. LOONAM:     I will tell you, Your Honor.       So very

   9    practically, right -- and I have shared some of this thinking

  10    with the government and been pretty transparent about this.

  11               So, for example, they are willing to look at the 13

  12    witness interviews.     That's about half of the witness

  13    interviews.    What about the other half, right?

  14               So to the extent that those interviews occurred and

  15    it's investigation by proxy, right, DOJ is conducting these

  16    interviews, SEC stays out of them, but that night DOJ is on the

  17    phone with the SEC trial attorney telling them, Hey, this is

  18    what happened.    This is what we saw.      And they're exchanging an

  19    analysis of those facts, right?       And the SEC takes a memo of

  20    this in their file.

  21               We think DOJ -- that's joint investigative activity.

  22    That is them acting as a team.        We think that they should

  23    review those notes that flow out of that conversation to the

  24    extent they exist.     We don't know.

  25               So in the Sridhar resolution, right?         Key witness,
                          United States District Court
                                Newark, New Jersey
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   1    right?   There are four people on a phone call that are at the

   2    center of this case; two of them are charged, one of them was

   3    given a non-prosecution agreement by the government, and the

   4    third enters into a civil resolution that is a neither admit

   5    nor deny, right, that requires his cooperation.          And when you

   6    review the 302s for that witness, that witness made very

   7    significant Brady statements in his meetings with DOJ and the

   8    SEC.

   9               Now, to the extent after the joint meetings with SEC

  10    and DOJ that are part of the 13, if the SEC had proffers or

  11    meetings with Sridhar or his counsel and shared that

  12    information with DOJ, and DOJ in some coordination, you know,

  13    they allow this to go through a civil resolution that requires

  14    the SEC -- that requires Sridhar to cooperate with the SEC and

  15    that cooperation could potentially require him to testify in

  16    this case pursuant to a DOJ request, but then the DOJ is

  17    putting up blinders and saying, I don't have to look at the

  18    SEC's file with respect to Sridhar except to the two joint

  19    meetings that I've already admitted to.

  20               But there's a whole file out there of additional

  21    further conversations with this critical witness who's already

  22    made Brady statements.      We think that's a serious problem in

  23    this case, and we think the DOJ's obligations would include

  24    that as well.

  25               So those are just examples, Judge --
                          United States District Court
                                Newark, New Jersey
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   1               THE COURT:     No, I understand, you are giving an

   2    example.   There was some Brady; maybe there's more.

   3               MR. LOONAM:     So, Judge, this isn't just an exercise

   4    in, let's have an academic exercise about the relationship here

   5    between DOJ and the SEC.      We believe there that DOJ has an

   6    obligation under Risha, under Brady, under Kyles, to look at

   7    additional materials in the SEC's files beyond what it's

   8    currently offered here.

   9               We've tried to obtain the information we need from

  10    the government in order to define the contours of how much more

  11    they need to look at, but they refuse to provide that

  12    information.    They've refused to provide information sufficient

  13    for us to determine what additional files they need to look at

  14    so an evidentiary hearing is our only answer.

  15               THE COURT:     Just for fun, suppose Mr. Grippo came

  16    back to you next week and said, Okay, I looked.          You know what?

  17    The heck with it.     I looked at everything.      I've read it all,

  18    and there's nothing more than what you know.

  19               Are we done?

  20               MR. LOONAM:     Your Honor, if DOJ agrees that it has to

  21    review the SEC's entire file per your hypothetical and comes

  22    back and says, There's no further Brady material, and then --

  23    and let's put timing aside here because I don't want to get

  24    into a semantic timing argument.        There's no Giglio, there's

  25    nothing else under Jencks that I have to turn over at any
                          United States District Court
                                Newark, New Jersey
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   1    course during the course of this proceeding, that is what it

   2    is.   I mean, we have to rely on the government to meet its

   3    obligations.

   4               But what we're talking about here for purposes of

   5    this evidentiary review is the scope of its review and its

   6    obligation.

   7               THE COURT:     I understand.    I am just getting the

   8    parameters.

   9               All right.     Mr. Grippo?

  10               MR. GRIPPO:     Thank you, Your Honor.

  11               Your Honor, as an initial matter, as is clear from

  12    our submissions to the Court, we disagree strongly with

  13    Mr. Loonam on his characterizations of our meet and confer and

  14    our efforts.

  15               In our view, Your Honor, the Court's decision in

  16    September was clear and focused on really two issues with

  17    respect to the motion to compel.

  18               First, the Court decided that there may be materials

  19    in the SEC's files that may be discoverable and the only issue

  20    is whether the government is obligated to look.          The Court then

  21    decided that more information was needed to make that

  22    determination.    The government then undertook efforts to both

  23    provide more information and agree to review documents that we

  24    believed go to the heart of the Court's decision.

  25               Between those two things, Your Honor, the agreement
                          United States District Court
                                Newark, New Jersey
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   1    to review the three categories of documents that we identified

   2    and the supplemental information we provided, we think we've

   3    addressed the concerns in the Court's decision and have

   4    satisfied our obligations.

   5               Your Honor, I think you were right on point to ask

   6    Mr. Loonam about the purpose of this.         If the purpose is to

   7    identify Brady material and review it and disclose it, that is

   8    one thing.    But that does not appear to be the goal of the

   9    defense team on this issue.

  10               We have received a set of questions that in our

  11    view -- and I know we've said this before in other contexts,

  12    but that really read like interrogatories that seek to catalog

  13    every communication related to broad topics for the purpose of

  14    what?   Of just identifying all of the interactions?          DOJ

  15    interacted with the SEC.      We had a parallel investigation.

  16    That is standard.     There is nothing wrong with that.

  17               But if the concept is, let's figure out if there's

  18    any discoverable information in the SEC's files, then that

  19    should be the focus.      And during our exchange with defense

  20    counsel they did not offer or propose additional categories of

  21    documents for DOJ to review or engage in any way on it.             They

  22    proposed this free-ranging set of questions that, again, are

  23    like interrogatories with multiple sub-questions and, you know,

  24    limitless sub-parts, and that was it.         And they refused to

  25    consider other options.
                          United States District Court
                                Newark, New Jersey
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   1               And I don't want to bore the Court with too much back

   2    and forth on this process but from our perspective if the

   3    concept here is jointly undertaken investigative activity,

   4    that's fact gathering in which both agencies participated, and

   5    then any substantive factual, potentially exculpatory

   6    information that comes out of that, we think the review that

   7    we've proposed and the additional information we've provided

   8    addresses those points and should resolve the issue.

   9               And so we do not think a hearing is necessary, Your

  10    Honor, based on our offer to review those materials and the

  11    information we've provided.

  12               MR. LOONAM:     Your Honor, if I may?

  13               THE COURT:     Sure.

  14               MR. LOONAM:     So we obviously disagree.       I think we

  15    put the questions -- Your Honor has the questions we put to the

  16    government in writing, and you can see that there are sub-parts

  17    because we tried to be very specific and put them as yes or nos

  18    so that we weren't getting to even the substance -- the

  19    nitty-gritty substance or the tick tock -- and we've actually,

  20    during the course of the meet and confer, expressed to the

  21    government we weren't looking for a catalog of every

  22    communication, and that was in the context of us on our own

  23    withdrawing one of our requests which was to explain -- have

  24    the government explain what it meant by "the significant

  25    cooperation of the SEC" in its press release.          You know, that's
                          United States District Court
                                Newark, New Jersey
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                                                                                 19

   1    a statement the government made, you know, it praised the

   2    significant cooperation of the SEC.

   3               And so we asked the government:        What did that

   4    consist of?    But understood that, well, you know, look, we're

   5    trying to avoid the hearing here.        We want efficiency, and so,

   6    you know, let's -- that can be construed as a catalog of the

   7    communications, and that's not what we're after here.           And so

   8    we actually took that request off the table on our own in an

   9    effort to try and avoid the evidentiary hearing.

  10               But if you heard what Mr. Grippo said, Your Honor,

  11    what he doesn't address are the circumstances I raised.            I

  12    think it's just a disagreement about the law.          And as Your

  13    Honor already recognized, this is -- Your Honor, I think

  14    they're misreading Your Honor's opinion.

  15               Your Honor found:      If the prosecution's views were

  16    accepted, the DOJ might closely partner with the SEC yet ignore

  17    potentially exculpatory material in the possession of the SEC

  18    so long as it did not directly order the SEC to do anything.

  19    The Risha factors I think are intended to guide a more general

  20    inquiry into whether the two worked so closely that the

  21    prosecution may be deemed to be in constructive possession of

  22    the materials gathered by the agency.

  23               Right?

  24               And then Your Honor says:       Defendants request in

  25    their reply brief an evidentiary hearing to determine the
                          United States District Court
                                Newark, New Jersey
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                                                                                20

   1    extent of the cooperation between the prosecution and the SEC.

   2    I agree that there remain questions of fact.          The prosecution

   3    denies that certain joint steps were taken but does not provide

   4    a comprehensive explanation as to what kind of cooperation

   5    there was.

   6               The admission that the SEC attended meetings with

   7    Cognizant counsel and the press releases praise the significant

   8    cooperation, perhaps a bit of interagency diplomacy but perhaps

   9    not, provide enough of a basis for an inquiry into whether

  10    there was more to the relationship than the SEC's merely

  11    sitting in on witness interviews.

  12               So, in other words, the statement in the press

  13    release, the interviews, that's a basis to see what the extent

  14    of the cooperation was here.       Mr. Grippo's inquiry and his

  15    offer does not address those other interviews that we now

  16    know -- after Your Honor wrote this opinion, we now know that

  17    DOJ provided those 302s for the interview that the SEC didn't

  18    even take part in but gave them during the course of the

  19    investigation.    This isn't after the investigation, after the

  20    indictment.    This is during the investigation they gave the

  21    302s for these witness interviews to the SEC.

  22               To the extent --

  23               THE COURT:     Yes, but that leads us where?       That

  24    sounds like information flowed the other direction from the one

  25    you're talking about.
                          United States District Court
                                Newark, New Jersey
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   1               MR. LOONAM:     Well, maybe.    Maybe not.    But it

   2    indicates -- we don't know, right?        So the DOJ hasn't answered

   3    the question:    Did you discuss the substance of the interview?

   4    Was there analysis?     Did DO -- did SEC contribute to the

   5    analysis of those witness interviews, right?

   6               There's -- there's -- there's no -- we don't know.

   7    We're in the dark with respect to that so there could be

   8    information flowing the other way.        We don't know if SEC, you

   9    know, had attorney proffers with counsel for these witnesses

  10    and then flowed information back to DOJ.         We don't know that.

  11    We've put those questions to DOJ, and they haven't answered

  12    them in this sort of meet-and-confer process.

  13               So now we're stuck with an evidentiary hearing to get

  14    answers to those, we think, very important questions.

  15               THE COURT:     Okay.   In your letters do I have -- just

  16    because there have been communications over time, do I have the

  17    current state of play, if you will?

  18               MR. LOONAM:     You do, Your Honor.

  19               THE COURT:     All right.

  20               MR. GRIPPO:     Your Honor --

  21               THE COURT:     I will review them.     I will get back

  22    to --

  23               MR. GRIPPO:     Your Honor.

  24               THE COURT:     Yes, I'm sorry, go ahead.

  25               MR. GRIPPO:     Apologize.    Briefly -- if I can just be
                          United States District Court
                                Newark, New Jersey
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   1    heard very briefly in response?

   2               I would just say on that last part from Mr. Loonam I

   3    would remind the Court that our -- we offered to review

   4    documents relating to the interviews the SEC attended.            So for

   5    purposes of the interviews they attended, we are covering in

   6    our proposal any notes that they may have attended -- that they

   7    may have generated during the interviews and any memos or other

   8    documents generated, you know, after that would contain

   9    substantive information about the interviews.

  10               With respect to other interviews that they didn't

  11    attend but were given access to the information through 302s,

  12    so that -- the second part of Mr. Loonam's comments, we did

  13    address that in our answers to the questions we proposed by

  14    explaining that the SEC did not solicit input or provide input

  15    about things like sequencing of questions and strategy.

  16               Those are the important parts, if we understand

  17    Mr. Loonam and the defense inquiry here, that really should be

  18    the focus, not describe every communication that anyone ever

  19    had with the SEC about witness interviews or things like that.

  20    So I think we have addressed in a sufficient manner the areas

  21    of factual development between the -- where the two agencies

  22    participated in a way that should resolve this motion without

  23    an evidentiary hearing.

  24               THE COURT:     Mr. Grippo, let me ask the same

  25    embarrassing question I asked Mr. Loonam, basically, what would
                          United States District Court
                                Newark, New Jersey
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                                                                                  23

   1    it take to get you to give up?       If the question is just what's

   2    the scope of what I have to read, well, why don't you just read

   3    it?

   4               MR. GRIPPO:     Well, Your Honor, a few points on that.

   5               First, we do not -- obviously do not control the SEC,

   6    and we do not have access to their full files.          It's not like

   7    we're talking about a Bankers Box® of documents sitting in a

   8    conference room and it's just a question whether we open it and

   9    review it.    There are logistical issues and issues we have to

  10    work through, and we don't know the SEC's position on those

  11    matters yet.

  12               And, also, we don't think there is legal support for

  13    that kind of approach.      Respectfully, Your Honor, even in the

  14    cases that the defense has cited in their underlying motion,

  15    the SDNY cases like Martoma and Gupta, and even in the Blumberg

  16    case here in New Jersey, the review by the government was

  17    always connected to some piece of the investigation that

  18    involved either joint activity or investigative action by the

  19    two agencies.

  20               And I understand Your Honor's --

  21               THE COURT:     And believe me, I was not implying by my

  22    question that you have to or that the law requires you to.            I

  23    was just --

  24               MR. GRIPPO:     Understood, Your Honor --

  25               (Simultaneous crosstalk.)
                          United States District Court
                                Newark, New Jersey
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                                                                                  24

   1               THE COURT:     -- on a solution to this.

   2               MR. GRIPPO:     No, understood, Your Honor.       We

   3    appreciate that.     We're obviously open to alternate paths here

   4    but I think reviewing the entire SEC file for an investigation

   5    that spanned several years would be challenging and not

   6    something that I think we're in a position to volunteer to do

   7    today.

   8               But with that said, if Your Honor is inclined to rule

   9    that way, then we will do whatever we have to do to comply.

  10    And we're happy to confer internally, and perhaps with the SEC,

  11    if the Court would like to hear back from us on that.             But I

  12    can't commit to that sitting here today, Your Honor.

  13               THE COURT:     No, that was a conversation piece, not an

  14    order, and I understand your position.

  15               All right --

  16               MR. LOONAM:     Your Honor, just to --

  17               THE COURT:     Okay.

  18               MR. LOONAM:     Your Honor issued the order last time

  19    for an evidentiary hearing to determine the scope of the

  20    cooperation.    The government came back and asked for a two-week

  21    extension, and then filed a letter saying:         Your Honor, it's

  22    moot because we have access to the SEC files for these 13 that

  23    we've now requested from the SEC.

  24               There's no indication that access is a real issue

  25    here.
                          United States District Court
                                Newark, New Jersey
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   1               THE COURT:     I'm going to -- because there's been some

   2    back and forth between the last time I ruled on this, I am

   3    going to give you something on the scope of the hearing,

   4    assuming the hearing is to occur, and the date, assuming that

   5    it is to occur.     Okay?   So I will get back to you on that.

   6               Let's move to the next issue.        We've got -- there's

   7    some subpoena requests?      Yes.   Where are we --

   8               MR. LUSTBERG:     Your Honor, I --

   9               THE COURT:     Start with the Cognizant ones.       Where are

  10    we on that?

  11               MR. LUSTBERG:     Mr. Grippo may have more on that.         As

  12    Your Honor knows, we served subpoenas on Cognizant.           Unlike

  13    L&T, which we'll get to, Cognizant accepted service.

  14               Since then we have been involved in a lengthy --

  15    lengthy -- a number of meetings where we've met and conferred

  16    with regard to the scope of those subpoenas.          Mr. Loonam was on

  17    the line here representing Mr. Coburn in that and I represented

  18    Mr. Schwartz on that, and Mr. Solano, who has indicated to us

  19    that he is available if the Court wants to hear from him today,

  20    but he represents Cognizant with regard to that.

  21               We have always, I should say, pressed hard to have

  22    those documents sooner rather than later.         I think Mr. Solano,

  23    if he were here, would tell you that we were -- you know, we

  24    have been pushing this very hard, understanding that we wanted

  25    to get this moving, we want these materials.          The schedule that
                          United States District Court
                                Newark, New Jersey
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                                                                                  26

   1    we proposed to the Court was literally the best that we could

   2    get under the circumstances.

   3               But I should tell you, Judge, and we need to really

   4    be on the same page about this, because this is not going to be

   5    that smooth.    We are going to get materials from Cognizant.

   6    They may be completely satisfactory, and we may say fine.            If

   7    you want my prediction, I doubt it.        I think that there will be

   8    fights with regard to privilege.        I think there will be

   9    significant disputes with regard to the scope of their

  10    compliance with Your Honor's subpoena.         I do think that there

  11    will be proceedings.

  12               But what we decided to do was to get from them what

  13    they could get from us.      This is a challenging thing for them

  14    because they're dealing with a few law firms that represented

  15    Cognizant through the course of this matter.          And honestly, if

  16    we could have had those documents and be moving forward with

  17    this more quickly, we certainly would have.

  18               And that does raise an issue I just want to raise

  19    with the Court here which is, you know, you've set an October

  20    trial date.    Fine.   I mean, we'll all be back to revisit that

  21    if we need to.    But this requires everybody to work together on

  22    this.   And the idea, you know, that there have been times when

  23    other people -- we're not -- this is not a matter of the

  24    defense seeking delay.      At times we have made requests to the

  25    government which they have either not responded at all or taken
                          United States District Court
                                Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-46 Filed 08/03/23 Page 28 of 82 PageID: 25641
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   1    days or weeks or months to respond.

   2               With Cognizant we have worked hard but we still don't

   3    have documents on a subpoena that you authorized in September,

   4    and we had to amend and then we served in October.           It's not

   5    for lack of work.     People have worked together trying to get

   6    this done but this stuff takes time, and so we are working hard

   7    to get that.

   8               I know we arrived at a schedule whereby production

   9    would commence within I think a week or two of today, and then

  10    a process would be completed, and there will be a privilege log

  11    and the like and all that.       The last I heard, the government

  12    had sent in a letter to Your Honor objecting to that schedule.

  13    It's a little disturbing that the government would object to

  14    that schedule having seen three requests for extensions of time

  15    by Cognizant and never having weighed in on it before.

  16               But be that as it may, we think that schedule is

  17    reasonable.    If Your Honor wants to push Cognizant to produce

  18    more quickly, we're all for it.       But we became persuaded, as

  19    hard as we worked at it and not because we were trying to

  20    delay, that they were producing as quickly as they could under

  21    the difficult circumstances.

  22               So these are critical documents, as Your Honor knows,

  23    to the outsourcing motion, to the scope of that motion, and to

  24    the ultimate adjudication of those very significant

  25    constitutional issues that we believe exist.          And so we have
                          United States District Court
                                Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-46 Filed 08/03/23 Page 29 of 82 PageID: 25642
                                                                                28

   1    proposed a schedule.      Cognizant has agreed to it.       The

   2    government opposed it, and that's where we are.

   3               THE COURT:     Okay.   Mr. Grippo, I'm not entirely clear

   4    on what I'm being asked here, but why don't you give me your

   5    point of view.

   6               MR. GRIPPO:     Thank you, Your Honor.

   7               Your Honor, first of all, just to clarify, we did not

   8    object to the proposed schedule.        We said we had serious

   9    concerns about it.     And so I just want to put that aside for a

  10    moment.

  11               There are two things I'd like to address with respect

  12    to this issue.    One is to just take a step back and refocus and

  13    recalibrate so that we do not lose sight of the bigger picture

  14    here because I think it's important to view all of these timing

  15    issues through the lens of the substantive issue that we are

  16    addressing, and that is the very limited Garrity-related

  17    outsourcing motion.

  18               And then second I'll address the schedule.          And just

  19    to kind of cut to the chase, I think, Your Honor, we are going

  20    to be on the same page or at least there is some common ground

  21    on the schedule, although we do have a request to add into it.

  22               But with respect to the first part, to remind the

  23    Court, in September of 2020, in the Court's September 14th

  24    order Your Honor was very clear that the Rule 17 subpoenas were

  25    being authorized for a very specific purpose, and that is that
                          United States District Court
                                Newark, New Jersey
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   1    the Court granted the issuance of trial subpoenas relevant to

   2    the narrow issue of investigative outsourcing as it relates to

   3    a potential pretrial motion for suppression of coerced

   4    statements of Coburn and Schwartz.

   5               Relevance for these purposes means relevant to a

   6    potential Garrity motion to suppress the coerced statements of

   7    the defendants.     The Court, therefore, focuses on accelerated

   8    pretrial production of category (a) items, which were the items

   9    relevant to the alleged outsourcing germane to such a hearing.

  10               So, Your Honor, just keeping that in mind we feel is

  11    important because when we look at a schedule that contemplates

  12    months of document productions, privilege logs, potential

  13    objections, and then at the end of it there's just an

  14    open-ended statement that the parties will then propose a

  15    schedule for briefing, it can easily turn into something that

  16    spans for months and months, and then begins to control and

  17    dictate the pace of any trial schedule.

  18               And that's our main concern, Your Honor, is making

  19    sure that whatever trial schedule we set, and the Court has now

  20    set one for October, that it is not completely derailed over

  21    this issue because of unnecessarily lengthy proceedings that

  22    really should be truncated.       And so we just ask the Court to

  23    remain mindful of the narrow scope of the issue pursuant to the

  24    Court's order.

  25               And then second, with respect to the actual schedule,
                          United States District Court
                                Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-46 Filed 08/03/23 Page 31 of 82 PageID: 25644
                                                                                  30

   1    we have spoken with counsel for Cognizant.         We discussed with

   2    them the concept of truncating the schedule, and we still think

   3    that a shorter schedule would be reasonable and doable because

   4    we understand the universe of responsive documents, at least

   5    from Cognizant's perspective, is relatively limited.

   6               But with that said, we also appreciate that it may

   7    take some time to collect the documents, to review them, and to

   8    get them ready for production, to prepare privilege logs.            We

   9    want to be reasonable and practical, Your Honor.           We know these

  10    things take time, and so we do think it would be totally

  11    appropriate and reasonable to truncate the schedule.

  12               But with that said, we don't have an objection to the

  13    schedule that Cognizant has laid out; however, what we would

  14    ask the Court to do is to include in that schedule a briefing

  15    schedule for any disputes that arise relating to the subpoena.

  16    So instead of just saying, you know, the schedule ends on

  17    April 9th, as is currently presented, we would ask the Court to

  18    include a deadline for any motions relating to the subpoenas,

  19    whether it's a motion to quash or a motion to modify or

  20    privilege-related motions.       And that that deadline be close in

  21    time to the October 9th date, so maybe two weeks out, or

  22    something in that range, to give the parties certainty about

  23    what comes next after that multi-month process of document

  24    production and related activity.

  25               And then, Your Honor, of course there's the issue of
                          United States District Court
                                Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-46 Filed 08/03/23 Page 32 of 82 PageID: 25645
                                                                                31

   1    the actual Garrity motion and any related hearing, and we

   2    understand that it may be a little bit too early to address

   3    that schedule now but we're hopeful that we can do that when we

   4    reconvene in May.

   5               But for today we would ask the Court, if Your Honor

   6    is going to accept the proposed schedule that goes into early

   7    April, we would respectfully ask the Court to include a

   8    deadline for any motions relating to the subpoenas.

   9               THE COURT:     Well, look, I'm guessing there is going

  10    to be ongoing multiple disputes and not a motion or two

  11    motions.   So how about this?      How about we set up the proposed

  12    schedule but I give you a Magistrate to whom you can bring

  13    ongoing disputes as they happen and hopefully on an informal

  14    basis the way we do with discovery disputes.          It seems to me

  15    that might be a more flexible way of going about this.

  16               Does that make any sense to you, Mr. Grippo?

  17               MR. GRIPPO:     It does, Your Honor.      I think that's a

  18    creative and efficient way to handle this but we would still

  19    ask the Court to consider having some deadline in sight so that

  20    it's not just left open-ended so that it doesn't just go on for

  21    months and months.

  22               And, of course, like any deadline it's subject to

  23    adjustment if the parties make an application and there's a

  24    basis to revisit it, but at least having a backstop in the

  25    schedule so that there's some structure to it.          I think that
                          United States District Court
                                Newark, New Jersey
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                                                                                32

   1    would make sense, Your Honor.

   2               THE COURT:     I'm having a hard time getting my mind

   3    around what you're asking me; that is, what would that order

   4    look like?

   5               One of the first things I learned in law school was,

   6    tell the Court what you want.       What are you asking me to do?

   7               MR. GRIPPO:     I'm asking you, Your Honor, to impose a

   8    deadline for any motions relating to the subpoenas.           So if the

   9    Court is going to refer the matter to a Magistrate Judge for

  10    issues that arise during the course of the document

  11    productions, that's totally fine.        That makes sense.     But I

  12    think the order should say, you know:         Any and all motions

  13    should be filed by April 30th, or something like that, a

  14    deadline, so that it's not just left open.

  15               Because as it stands now there's no end in sight with

  16    this process.

  17               THE COURT:     Okay.   I'm not sure if that works or I'm

  18    not sure how that fits together with my proposal, which is,

  19    what I had in mind was almost like what we do in civil

  20    discovery, which is when you hit a snag, you get on the phone

  21    with the Magistrate.      If more is required in terms of letter

  22    briefs that this -- that document is privileged or beyond the

  23    scope of the request, or whatever it is, that can be done.

  24               But it seems to me those can be done on a rolling

  25    basis; that is, I don't want to have a deadline that indicates:
                          United States District Court
                                Newark, New Jersey
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                                                                                  33

   1    Okay.   Go through this whole process, just let it all fly, and

   2    then file a big motion at the end telling us what the disputes

   3    were.   I don't know if that's an efficient way to do it.

   4               Now, what is the proposed schedule?         Remind me, the

   5    Cognizant proposed schedule.

   6               MR. GRIPPO:     Your Honor, it begins with an initial

   7    production -- I don't have it right in front of me, but it

   8    begins with an initial production in January, a supplemental

   9    production in February.      Privilege logs being produced I

  10    believe in February or March.       Meetings between counsel.       And

  11    then ultimately the key date, the end date as we understand it

  12    is April 9th, which is the date by which the parties will

  13    inform the Court if the subpoena has been satisfied or if there

  14    are open disputes.

  15               And then the proposal says that, you know:

  16    Thereafter, the parties will propose a briefing schedule for

  17    any disputes.

  18               And I think everyone on this call or Zoom can

  19    acknowledge that there is a high likelihood -- including

  20    Mr. Lustberg acknowledge it, that there's a high likelihood of

  21    disputes, some of which may be complex.         And that's the part

  22    that gives us concern is the open-ended ending of that time

  23    period.

  24               And of course the Court has now set a trial date so

  25    that does provide, you know, some structure to the end of this,
                          United States District Court
                                Newark, New Jersey
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                                                                                 34

   1    but we are trying to avoid being in a situation where the sole

   2    basis for an adjournment request of the trial date is the

   3    ongoing motion practice relating to this subpoena.

   4                THE COURT:    Okay.   I'll hear -- I don't know,

   5    Mr. Lustberg, whoever wants to --

   6                MR. LUSTBERG:    Yes.   Yes, thank you, Judge.      Just a

   7    few reactions to that.

   8                Look, I'm -- we're -- I'm fine with Your Honor's

   9    suggestion to have somebody monitor discovery and resolve

  10    disputes as they go along.

  11                One of the reasons that we proposed the schedule that

  12    we did, which included setting a briefing schedule after that

  13    date, was that we really don't know what the issues are.            So we

  14    don't -- I mean, it may be that we can file briefs in a week

  15    and maybe it will take longer.

  16                The idea is that -- and by the way, I should note

  17    that the party that will be involved in this briefing is not on

  18    this call, that's Cognizant, because this would be a motion to

  19    quash by them or to compel by us.        So I don't think -- I'm not

  20    sure this is completely fair to do, but it strikes me that

  21    reasonable counsel getting together, understanding that we're

  22    trying to move this forward, will come to a briefing schedule

  23    that makes sense, but this does require everybody to work

  24    together.

  25                And let me just say in that regard, I mean, the
                          United States District Court
                                Newark, New Jersey
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   1    government is pressing and pressing timely, we have to move

   2    this, we need briefing schedules.        I mean, we have made

   3    requests -- I just want to give you one example, and I don't

   4    mean to complain.     It's water under the bridge to a certain

   5    extent.   But in late July we asked the government to answer a

   6    simple question to us, which is when were certain downloads,

   7    so-called downloads which are the interviews that Cognizant did

   8    of various witnesses, provided to the government?

   9               They answered that correspondence, which we sent them

  10    on July 27th, on September 11th with the answer:           We won't tell

  11    you.

  12               You know, if they're going to press us for time, they

  13    have to take seriously that everybody has to move this along.

  14    And so I just think we should be evenhanded with the way we do

  15    this, that -- now I vented.       So that having been said, we are

  16    perfectly happy to have some other way of resolving issues as

  17    they go along.    There will be issues.

  18               And let me just finally say this, it is true that

  19    this Court's September 14th order for now, and you were very

  20    clear it was for now, limited the inquiry to Garrity.           But you

  21    said, and I'm reading, too:       The hearings ordered by the Court

  22    here may alter the picture as to the outsourcing claim.

  23               And what I think, what I can tell you, I can predict

  24    what our position is likely to be, which is that I believe

  25    we're going to be able to show the Court that the government
                          United States District Court
                                Newark, New Jersey
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   1    outsourced this investigation.       And once we prove that to the

   2    Court, there will not only be Garrity claims, there will be

   3    Brady claims.

   4               And it's not going to be Brady in the sense that the

   5    government has to get Brady, you know -- uncover information.

   6    But if Cognizant is acting in the shoes of the government, then

   7    what's in Cognizant's possession that's exculpatory is Brady

   8    material, and I'm not making this up.         That's what Blumberg

   9    says, and we will show Your Honor that's what the case law

  10    stands for.

  11               And what I understand Your Honor did on

  12    September 14th was say we haven't made that threshold showing

  13    yet.   You were very clear that we hadn't really even had the

  14    opportunity to do that.      That was one reason why you were

  15    providing us the discovery you were, but that that may change.

  16    That is going to affect the scope of the subpoenas, and so that

  17    is going to be litigated at that time.

  18               But as you recognize, that's what we need to get this

  19    information for, and that's what we're trying to get.

  20               And believe me, we will move this as quickly as we

  21    can but everybody has to work together to do that.           We're happy

  22    to do this in some alternative way such as having a Magistrate

  23    Judge preside over discovery disputes.         There are going to be

  24    sticky issues of privilege that are going to have to be

  25    resolved, and we'll work together to do that as expeditiously
                          United States District Court
                                Newark, New Jersey
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   1    as possible but it has to be done right.

   2               We have a client here, as does -- and this applies to

   3    Mr. Coburn as well, we are not only presumed innocent but

   4    candidly are.    And we want the opportunity to fully vindicate

   5    their due process rights through careful hearings of the sort

   6    that I know this Court will provide.

   7               This should not be rushed and --

   8               THE COURT:     Here's what I'm going to do.       The way I

   9    see this going is, I think you're going to have day-to-day and

  10    week-to-week disputes, and I think having a Magistrate sort of

  11    on call and educated about the case will really minimize some

  12    of that friction as you go along.

  13               I suspect you're going to have some big issues at the

  14    end of it all that you will not have been able to work out, and

  15    that that will be the subject of motion practice once this

  16    whole schedule -- once the agreed upon schedule ends on April,

  17    whatever it was, 9th.

  18               But here's what I'm going to do.        I'm going to give

  19    you a date to file motions in April.        It could be that you're

  20    going to come back to me in April and say, Well, look at all

  21    that's happened since we talked in January.          You know what, I

  22    need a little more time to prepare my motion given all that.

  23    Fine.   But let's give it a control date of -- we can call it

  24    April 23rd.    I don't even know if that's a Saturday or Sunday

  25    as I sit here.    But that will be the target date for filing the
                          United States District Court
                                Newark, New Jersey
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   1    motions.

   2               If there is good -- you won't find me unreasonable if

   3    that turns out to be an unreasonable amount of time to get your

   4    motions together.     But I think you probably can and you

   5    probably don't need to wait until the very last thing has

   6    happened in the production process before you start thinking

   7    about what the motion is going to look like.

   8               There will be things you can do going along.           I know

   9    you all can do more than one thing at a time.

  10               So that's what we're going to do.         We're going to --

  11    so the Cognizant proposed schedule plus, and the "plus" is

  12    motions to be filed by April 23.        Okay?   As always, subject to

  13    reasonable applications.

  14               All right.     Now, we have -- the next sticky issue is

  15    the L&T subpoenas, which apparently we were having -- we did a

  16    service or jurisdiction glitch here.        Who wants to talk about

  17    that?

  18               MR. LUSTBERG:     I guess Roberto can.

  19               MR. FINZI:     Yeah, I'm happy to address it, Your

  20    Honor.

  21               Just by way of very brief background so we have some

  22    context, L&T is the Indian construction company with which

  23    Cognizant contracted to build the building in question and for

  24    which the alleged bribe was paid to get a building permit.

  25               THE COURT:     Yes, I remember.
                          United States District Court
                                Newark, New Jersey
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   1               MR. FINZI:     Okay.   L&T is significant in various

   2    respects; namely that it is -- or one is that it is the alleged

   3    bribe payor in the sense that they are the ones that are

   4    alleged to have transmitted the bribe from Cognizant to the

   5    Indian government official on behalf of L&T.

   6               The second way in which they're significant is that

   7    they have absolutely denied any involvement in any of this.            So

   8    they have said that they, after doing a thorough investigation,

   9    have found no evidence.

  10               So you have a supposed member of the conspiracy or at

  11    least somebody along the chain that says:         We don't know what

  12    you're talking about.      We didn't do this.     We can't find any

  13    evidence of it.

  14               That is, at a minimum, we think either Brady material

  15    or certainly material to the defense and potentially

  16    exculpatory.

  17               When we went to L&T to ask them for relevant material

  18    and information, they said:       No, thank you.

  19               Again, we think that's curious for a couple different

  20    reasons.   One is, as a general matter, L&T is active in the

  21    U.S.   They have contracts with -- or at least a contract with

  22    the U.S. government, so there may be an issue of what I think

  23    of that as general jurisdiction.

  24               But more importantly, in the course of the

  25    investigation they cooperated repeatedly with the U.S.
                          United States District Court
                                Newark, New Jersey
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   1    Attorney's Office.     So they have U.S. counsel.       They came in

   2    and made presentations to the government.         They provided the

   3    government documents and information.         They made their pitch or

   4    presentation, more than one.       They suggested to the government

   5    which witnesses the government ought to interview, which the

   6    government took them up on and interviewed.          And now they're

   7    saying:   Judge, I don't want any part of this.

   8               Our position is they can't -- they passed that

   9    rubicon, and we need to deal with the service and jurisdiction

  10    issues but we need that information, Your Honor.           It's material

  11    to the defense and potentially exculpatory.

  12               We've asked the government -- this issue may not yet

  13    be ripe for the Court.      We've asked the government for

  14    assistance on that.     Presumably they are the ones who sent

  15    document -- well, not presumably, but they are the ones who

  16    sent document preservation orders to L&T's affiliate in the

  17    U.S.   They are the ones that engaged in a dialogue with L&T.

  18    L&T was clearly willing to respond to the government.

  19               It's our hope that if the government -- with the

  20    government's help we can get L&T's attention.          If we can't, we

  21    will need to be back to the Court to ask for the Court's

  22    intervention in getting L&T in front of the Court as a matter

  23    of service and jurisdiction, but I don't know that that's

  24    today's problem, Your Honor.       We just wanted to make sure, in

  25    the interest of previewing what may be thorny issues, that we
                          United States District Court
                                Newark, New Jersey
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   1    brought it to Your Honor's attention.

   2               THE COURT:     Okay.   Well, you key it up for me, and

   3    I'll give you a decision.

   4               Mr. Grippo, I'm not going to put you on the spot.

   5    Apparently they have requested assistance either through an

   6    MLAT or however with getting what they want.          Does the

   7    government have a position on that yet, or are you prepared to

   8    respond?

   9               MR. GRIPPO:     Your Honor, we have not responded

  10    directly to defense counsel yet.        We have their request.      But

  11    since we're on the record and the issue is being raised, I can

  12    say that we do not intend to get involved in this.

  13               If defense counsel files an application, I don't

  14    envision us getting in the way or objecting, but this is really

  15    not our issue.    We have turned over everything we have from

  16    L&T.   We do not have an ongoing agreement or relationship or

  17    cooperation relationship of any sort with L&T, and we've turned

  18    over everything in our possession, custody, and control that we

  19    received from L&T.

  20               We are certainly not going to pursue an MLAT to India

  21    or take other steps to assist the defense in this regard.            With

  22    that said, if they file an application, we are not going to get

  23    in the way but this does not seem to be a fight that the

  24    government should or will jump into.

  25               MR. LEWIN:     Judge, if I might?     Nick Lewin for
                          United States District Court
                                Newark, New Jersey
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                                                                                42

   1    Mr. Coburn, with your permission.

   2               THE COURT:     Oh, there you are.     Yes.   Go ahead.

   3               MR. LEWIN:     I mean, Judge, it is extraordinarily

   4    striking that suddenly with respect to the L&T subpoena this is

   5    not a concern of the government.        Suddenly with respect to the

   6    L&T subpoena this is an issue between Mr. Coburn and

   7    Mr. Schwartz on one hand and a company on the other hand, a

   8    company that spent months and months cooperating with the

   9    government, that produced volumes of documents but now the

  10    government --

  11               (Simultaneous crosstalk.)

  12               MR. LEWIN:     Excuse me, Your Honor?

  13               THE COURT:     They have given you access to those,

  14    right?

  15               MR. LEWIN:     They have given us access to some of the

  16    documents produced, but this is no longer the government's

  17    concern, unlike the CTS subpoena where the government elected

  18    over a course of months to litigate repeatedly about our

  19    entitlement to those documents, documents that regard real,

  20    genuine constitutional issues.       Now that we passed that point,

  21    the government is talking about timing and limiting and the

  22    like.

  23               So, Your Honor, I think there is nothing for the

  24    Court to do now, but it is striking that with respect to L&T

  25    and in light of a history of months-long intensive cooperation
                          United States District Court
                                Newark, New Jersey
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   1    and the centrality of L&T in a case, you know, alleged bribe

   2    payor who denies having paid a bribe, that suddenly the

   3    government is not willing to even request voluntary

   4    cooperation; whereas with respect to CTS it seemingly is their

   5    position to spend months litigating our entitlement to

   6    documents.

   7                MR. GRIPPO:    Your Honor, if I can just respond very

   8    briefly?

   9                THE COURT:    Sure.

  10                MR. GRIPPO:    I'm not sure why it's so striking to

  11    counsel but as counsel may recall, we opposed the issuance of

  12    both the CTS and L&T subpoenas and litigated on both fronts,

  13    and the Court ruled.      And now the question is service and

  14    jurisdiction, and those are not our issues respectfully, Your

  15    Honor, at this point.

  16                So I will leave it at that.       And as I said, Your

  17    Honor, if they file an application, I don't anticipate us

  18    having much of a role unless, of course, the Court requests our

  19    position.

  20                THE COURT:    All right.    So defense counsel finds it

  21    striking and government counsel do not.         Now we're getting

  22    somewhere.

  23                Any application you intend to file, I'll hear you.

  24                MR. GRIPPO:    Your Honor, one last thing --

  25                (Simultaneous crosstalk.)
                          United States District Court
                                Newark, New Jersey
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   1               MR. GRIPPO:     I apologize, but one last point is just

   2    to remind the Court, with the focus being on Garrity, the Court

   3    should also remember that L&T is not the former employer of

   4    either of the two defendants.       And so to the extent the issue

   5    is limited in the way we think it is, it's unclear what the

   6    Garrity-related claim could end up being with respect to L&T in

   7    that particular subpoena.      But putting that aside, it appears

   8    that the issue is really limited to jurisdiction and service.

   9               THE COURT:     Yes, one step at a time.      I'm sure --

  10    yes, Mr. Finzi?

  11               MR. FINZI:     Sorry, Your Honor, I was just going to

  12    make the point that clearly our application to L&T goes beyond

  13    Garrity issues.     This will be a merits-based request for

  14    documents based on, you know, the actual merits of the case,

  15    the truth and falsity of the government's allegations.            And so

  16    to suggest that it's limited to a Garrity issue misunderstands

  17    what it is we're looking for.       Sure we're looking for that.

  18               But we're also looking for -- there's a

  19    co-conspirator that says:      I didn't participate in this.        I

  20    have no evidence.

  21               And they have said publicly and to the Stock Exchange

  22    and to all their investors and to anyone who will listen that

  23    they're not responsible and they didn't participate in this.

  24    So we are going to want merits discovery.

  25               But I hear Mr. Grippo.       I am going to take his
                          United States District Court
                                Newark, New Jersey
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   1    response on the record as a response to our letter asking for

   2    information, issue is joined, and we'll take it from there.

   3                THE COURT:    Yes.   Do that.   Okay.    Let's get back to

   4    things we can profitably deal with today.

   5                All right.    And, again, I'm following along actually

   6    at the moment in Mr. Lustberg's letter, but that doesn't

   7    necessarily define the entire agenda.         So if anybody else has

   8    anything else, please tell me.       But for now I'm at item D of

   9    Mr. Lustberg's letter which is "other discovery issues."

  10                Mr. Lustberg, why don't you tell us what you mean.

  11                MR. LUSTBERG:    So actually, Judge, just before we get

  12    there, there's one thing that's pertinent to the last

  13    discussion, which is if Your Honor remembers, in your

  14    September 14th letter you divided the subpoena categories into

  15    groups, into category (a) and category (b).

  16                I think the Court said at that time that it would

  17    issue a decision with regard to category (b), which we haven't

  18    received.

  19                But that's okay because I think at this point we've

  20    all learned some more, and I think what we would offer to the

  21    Court in regard to category (b) is that both defendants will

  22    submit some sort of consolidated category (b) subpoena so you

  23    can look at it all at one time.

  24                We have learned some more since that time, and so we

  25    will supplement what we asked for before.         So it's kind of a
                          United States District Court
                                Newark, New Jersey
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   1    happy happenstance that Your Honor hasn't quite ruled on that

   2    since time has kind of overtaken it a bit.         And we'll be

   3    prepared to do that very expeditiously, and that we hope will

   4    facilitate Your Honor's review.

   5               THE COURT:     So my grand strategy worked out.        Okay.

   6               MR. GRIPPO:     Your Honor, just to jump in very briefly

   7    on that.   My comments earlier were directed at the category (a)

   8    subpoena --

   9               THE COURT:     Yes, I understand.     I understand your

  10    point exactly, which is the prioritization of the category (a),

  11    but that's not the whole universe of what we're talking about

  12    or will be talking about.

  13               There were some other things.        Now, the first one was

  14    preservation of rough notes of meetings.         Apparently that sort

  15    of dropped by the wayside at some point.         The defense made a

  16    request but you haven't gotten a yes or a no; am I saying that

  17    correctly?

  18               MR. LUSTBERG:     Yes.

  19               MR. FINZI:     Yes.

  20               THE COURT:     Anyway, Mr. Grippo, not to ambush you,

  21    what I'm looking at, page 5 of Mr. Lustberg's New Year's Eve

  22    letter.

  23               MR. GRIPPO:     Is there a question, Your Honor, or are

  24    you just asking --

  25               THE COURT:     The question is, they say they have made
                          United States District Court
                                Newark, New Jersey
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                                                                                47

   1    a request and haven't gotten an answer.         Do you know what your

   2    answer is?    Have you given them an answer?

   3               MR. GRIPPO:     To the extent it's to preserve agent

   4    notes, we have done that.      But we will respond separately on

   5    that point to counsel, Your Honor.

   6               THE COURT:     Yes, why don't you do that.       Give them a

   7    written response just so they have something to work off.

   8               MR. GRIPPO:     Certainly, Your Honor.

   9               I think there's only one other issue but,

  10    Mr. Lustberg, do you want to --

  11               MR. LUSTBERG:     Yes, it's frustrating, you know, we

  12    made that request in April but whatever.         Okay.

  13               THE COURT:     All right.

  14               MR. LUSTBERG:     So the final issue, and this could be

  15    the subject of briefing if Your Honor wishes, is that there was

  16    a so-called 2703(d) order to a -- that the government sought

  17    with regard to personal emails of a former L&T employee who

  18    apparently interfaced regularly with the Indian government.

  19    They sought that order and ultimately did not turn over any

  20    documents pursuant to it.      Apparently there weren't any.

  21               We have sought the order, and why did we do that?

  22    This is not -- and the government's response has been:            What do

  23    you need it for?     You have no standing to move to suppress

  24    those materials.

  25               That's not what this is about.        If the government was
                          United States District Court
                                Newark, New Jersey
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   1    seeking information regarding somebody who was from L&T who was

   2    interfacing with the Indian government, one suspects that there

   3    was a reason for that, and that that reason could very well

   4    uncover exculpatory evidence for us.

   5                So we requested that order.       The government said:

   6    No, you don't get it because you have no standing to move to

   7    suppress.

   8                We then sent a follow-up letter to the government

   9    explaining what our theory was as to why this could very well

  10    engender Brady information, and the government has not

  11    responded to that.

  12                And so our -- when we -- if we have a response, we

  13    can make an appropriate application to the Court with regard to

  14    that.   But one of the problems with Brady always is, the

  15    government explains to us, Well, we don't know what Brady is

  16    because we don't know what your theory is.

  17                So here we tried to explain to the government why it

  18    is that we thought this could be potentially exculpatory.            And

  19    I think it's pretty clear why it would, if they were trying to

  20    get information regarding somebody who was interacting from

  21    L&T, who is, you know, this briber, alleged briber who was

  22    interacting with the Indian authorities, you could see why we

  23    would be interested in that because it could very well show

  24    information that would be of assistance to us, or at least

  25    highly relevant to the offense material is the word that
                          United States District Court
                                Newark, New Jersey
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   1    appears in Rule 16.

   2               THE COURT:     Let me slow you down.      Am I correct

   3    you're saying that they didn't get anything in response to the

   4    order, correct?     Or did I misunderstand you?

   5               MR. LUSTBERG:     I don't -- I don't think -- I'm not --

   6    actually, as I sit here right now, I'm not sure.           I don't know

   7    if anybody else on the call --

   8               MR. FINZI:     I believe -- well, let me let Mr. Grippo.

   9    He would know it best.

  10               THE COURT:     Mr. Grippo, I'm having trouble following

  11    here.

  12               MR. GRIPPO:     Your Honor, we produced the data we

  13    received from the email provider.        The defense has the data,

  14    and we have represented to the defense that we do not intend to

  15    use that data at trial as of now.        If that changes, we'll

  16    reconsider their request.

  17               We also pointed out that they do not have standing so

  18    that -- in many cases, as Your Honor knows, the government will

  19    turn over search warrant affidavits and other materials, court

  20    applications, so that the defendant can assess whether to file

  21    a motion to suppress.

  22               That issue doesn't exist here so now we're left with,

  23    what is in the application that may be discoverable?           We have

  24    reviewed it.    We have turned over the underlying evidence

  25    that's discussed in the application so they have the
                          United States District Court
                                Newark, New Jersey
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   1    substantive evidence-related information, and they have the

   2    actual production from the email provider.

   3                So all they're asking for is our application, which

   4    really is our work product, mental impressions, and the like,

   5    and, you know, statutory cites, and things like that, that are

   6    common.   And we've reviewed it, Your Honor, and we don't think

   7    it's discoverable or that there's a basis to turn it over.

   8                The defense hasn't cited to any supporting authority

   9    that would support their request beyond just laying out their

  10    theory, which we have considered and we haven't responded to

  11    them in writing yet.      But since we're dealing with this on the

  12    record, I will tell them here that we are not going to produce

  13    the application at this time for all of those reasons.

  14                THE COURT:    Okay.   Here's what I am going to ask you

  15    to do.    Mr. Grippo, send me -- I'm sure I can find it if I look

  16    hard enough, but send me a copy of the application and order.

  17    I'll review it in camera.      If I agree with you that there's no

  18    Brady in there, then that will be the end of it.           So we'll

  19    handle it that way.

  20                MR. GRIPPO:    Certainly, Your Honor.      We will send the

  21    Court a copy promptly.

  22                THE COURT:    Get it to Ms. Creegan, and she will get

  23    it to me.    But that seems like the most straightforward way to

  24    deal with it.

  25                MR. LUSTBERG:    Judge, if the Court will accept it,
                          United States District Court
                                Newark, New Jersey
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   1    obviously we don't know what's in there, but we may, if Your

   2    Honor is okay with it, write a short letter to the Court

   3    explaining why we think it may be -- what's in there may be

   4    exculpatory, because you don't have the benefit of that.            We've

   5    articulated that theory to the government but not yet to the

   6    Court because we haven't made an application.          But we would

   7    like to provide Your Honor with our sense of why that

   8    information is potentially material under Rule 16 and Brady.

   9               THE COURT:     Sure.    I thought I understood what you

  10    were saying but if you want to expand on that a little bit,

  11    sure.   Give me a letter and then I'll look -- that is, just

  12    state your theory of why you think this would be --

  13               (Simultaneous crosstalk.)

  14               MR. LUSTBERG:     It will be a short letter.

  15               MR. GRIPPO:     Your Honor, in an effort --

  16               THE COURT:     I mean, look --

  17               MR. GRIPPO:     In an effort to --

  18               THE COURT:     Yes --

  19               MR. GRIPPO:     -- reduce the number of filings, I

  20    believe counsel attached their letter to the government as an

  21    exhibit to the December 31st filing.        So if their theory is

  22    completely presented in that letter, that may be sufficient,

  23    but obviously that's up to counsel to decide.          I just wanted to

  24    point that out.

  25               THE COURT:     Are you talking about that December 15
                          United States District Court
                                Newark, New Jersey
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   1    letter?

   2               MR. GRIPPO:     Yes, it's Exhibit B to the New Year's

   3    Eve filing.    But I don't know if that's the full picture, Your

   4    Honor, so I'm not discouraging them.        I am --

   5               THE COURT:     Yes --

   6               MR. GRIPPO:     -- just pointing that out for

   7    everyone's --

   8               THE COURT:     How about that, Mr. Lustberg?       Does that

   9    do the trick?

  10               MR. LUSTBERG:     We'll take a look, Judge, and we will

  11    let you know promptly whether we want to supplement that at

  12    all --

  13               THE COURT:     Yes, you can just email me.

  14               MR. LUSTBERG:     I didn't recall we attached that.

  15               THE COURT:     Yes, because he makes a point, if you

  16    feel you have articulated it there, no need to do it again.

  17               MR. LUSTBERG:     No.   So if that's the case then we'll

  18    just point Your Honor to that letter as --

  19               THE COURT:     Yes.

  20               (Simultaneous crosstalk.)

  21               MR. LUSTBERG:     -- in camera.     But we'll take a look

  22    and see if we want to supplement that in any way.           And if we

  23    do, we will do it quickly and briefly.

  24               THE COURT:     Yes.   Okay.   That made a certain amount

  25    of sense, Mr. Grippo.      Thank you.
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                                Newark, New Jersey
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   1                All right.    That brings us to the end of the agenda

   2    as seen from the point of view of Mr. Lustberg.

   3                Now, what else do we have?

   4                MR. GRIPPO:    That's it from our perspective, Your

   5    Honor.   I'm sure if we poll the group we can come up with

   6    additional issues, but I think that's it from our perspective.

   7                THE COURT:    All right.

   8                MR. LOONAM:    Nothing on behalf of Mr. Coburn at this

   9    time.

  10                THE COURT:    Okay.   I think we're done.      Thank you,

  11    everyone.    Now, one other thing is -- you know what, I'm not

  12    going to ask somebody to do me an order because it's going to

  13    be woolly.    I will do the order.

  14                Okay.   Thanks, everyone.

  15                MR. GRIPPO:    Thank you, Your Honor.

  16                THE COURT:    Let me just ask the court reporter,

  17    Ms. Villanti, I would like at least a rough transcript as soon

  18    as you can do it.

  19                THE COURT REPORTER:     Yes, Judge.

  20                THE COURT:    Thanks a lot.    Okay.   Thanks, everybody.

  21                (Proceedings conclude 4:20 p.m.)

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                            United States District Court
                                  Newark, New Jersey
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   1            ------------------------------------------------

   2            I certify that the foregoing is a correct transcript

   3    from the record of proceedings in the above-entitled matter.

   4

   5

   6    /S/Rhéa C. Villanti, CCR, CRCR                    1/7/21

   7    Court Reporter/Transcriber

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                          United States District Court
                                Newark, New Jersey
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               52/14       1/17
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               52/17      14th [4]      20/17        A
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   43/10       THE        16 [2]
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   43/24 44/1 COURTROOM    49/1 51/8
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   46/6 46/23 DEPUTY:     17 [1]
                                        2/12          13/10
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   MR. LEWIN: 1/8         2020 [1]      [1]   53/21   30/22
   [4] 41/25 07102 [1]     28/23       4th [1]        31/11
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   MR.         [1] 2/24 20530 [1]      5
                                                      37/11 38/7
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                          21 [1]                      39/12
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   18/14 21/1 2/20
                           38/12       7              47/25
                          23rd [1]     732 [1]        51/25 52/8
   21/18      10110 [1]    37/24                     above  [1]
   24/16       2/12                     1/24
                          250 [1]                     54/3
   24/18 53/8 10119 [1]    2/4         8             above-entit
   MR.         2/16       2520 [1]                   led [1]
                                       895-3403
   LUSTBERG: 10281 [1]     2/15         [1] 1/24      54/3
   [20] 3/12 2/5          2703 [1]                   absolutely
   3/17 3/20 11th [1]      47/16       9              [2] 7/2
   6/8 6/11    35/10      27th [1]     970  [1]       39/7
              120 [1]
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                                                                     alternate
  A
  absorbed      53/6         34/12 39/8 21/19          [1] 24/3
   [1] 3/7    address   [8] afternoon     24/15       alternative
  academic       6/18        [3] 3/3      26/20        [1] 36/22
   [1] 15/4     19/11        4/20  9/16   26/25       although
  accelerated 20/15         again [6]     27/11        [2] 4/24
   [1] 29/7     22/13        6/8 10/14    27/18 28/7 28/21
  accept [2]    28/11        17/22        28/14       always [5]
   31/6 50/25 28/18 31/2 39/19 45/5 32/12 33/1 3/14 23/17
  accepted      38/19        52/16        37/14        25/21
   [2] 19/16 addressed      against [1] 37/20          38/12
   25/13        [3] 7/18      12/10       37/22 38/9 48/14
  access [7]    17/3  22/20 agencies      38/14       am [14]
   12/2 22/11 addresses      [3] 18/4     43/20        3/13 7/5
   23/6 24/22   [1]   18/8   22/21        44/22  45/5  8/15 9/2
   24/24      addressing     23/19        45/20        9/5 9/13
   42/13        [1] 28/16 agency [1]      45/23        9/24 16/7
   42/15      adjourning     19/22        47/13  50/3  25/2 44/25
  acknowledge [1] 5/10 agenda [2]         50/13        46/16 49/2
   [2] 33/19  adjournment    45/7  53/1   52/12  53/1  50/14 52/4
   33/20        [1] 34/2 agent [1]        53/7        ambush [1]
  acknowledge adjudicatio 47/3           allegations 46/20
  d [1] 8/10  n  [1]        agree  [4]    [1] 44/15 amend [1]
  acting [3]    27/24        5/2 16/23 alleged [8] 27/4
   12/11      adjustment     20/2 50/17    8/3 8/4    Amendment
   13/22 36/6 [1] 31/23 agreed [2]        29/9 38/24 [1] 7/3
  action [2] admission       28/1 37/16 39/2 39/4 AMERICA [1]
   1/3 23/18    [1]   20/6  agreement     43/1 48/21    1/3
  actions [2] admit [1]      [3] 14/3 allow [1]       AMIR [1]
    6/19 7/1    14/4         16/25        14/13        2/15
  active [1] admitted        41/16       almost [1] among [1]
   39/20        [2] 11/2 agrees [1]       32/19        6/17
  activity      14/19        15/20       along  [9]   amount  [2]
   [4] 13/21 advance [1] ahead [2]        6/1 6/3      38/3 52/24
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   30/24      affect [1] aided [1]        35/13        [3] 13/19
  actual [4]    36/16        1/22         35/17        21/4 21/5
   29/25 31/1 affidavits    air [1]       37/12  38/8 analyzed
   44/14 50/2 [1] 49/19 10/6              39/11 45/5 [1] 12/5
  actually    affiliate     ALEXANDRA    already  [3] another [1]
   [5] 18/19 [1] 40/16 [1] 2/11            14/19        10/17
   19/8 45/5 afraid [2] all [42]          14/21       answer [7]
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  add [1]     after [13]     4/16 6/12 also [6]        15/14 35/5
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  additional   11/6 12/15 8/8 9/4         30/6 44/3    47/2 47/2
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   [1] 22/13    [1]   3/5   argued   [1]  assuming      25/5 26/20
  anticipate appears [2] 11/7              [2] 25/4     28/12
   [1] 43/17     44/7  49/1 argument       25/4         37/20
  any [32]    application [1] 15/24 attached            40/21 45/3
   4/12 4/13    [13]        arise [2]      [2] 51/20 background
   11/10        31/23         30/15        52/14        [1] 38/21
   11/11        41/13         32/10       attend [1] backstop
   11/17        41/22       around   [1]   22/11        [1] 31/24
   11/25        43/17         32/3        attended     Bankers [1]
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   17/21 18/5 48/13         arrived [1] 22/5 22/6       18/10
   22/6 22/7    49/23          27/8       attention     44/13
   29/17        49/25 50/3 articulated [2] 40/20 44/14
   30/15        50/13         [2] 51/5     41/1        basically
   30/18 31/1   50/16  51/6   52/16       attitude      [1] 22/25
   31/8 31/16 application as [68]          [1] 10/9 basis [7]
   31/22 32/8 s  [2]        aside   [3]   attorney      20/9 20/13
   32/12        38/13         15/23 28/9 [6] 1/13       31/14
   33/17 39/7 49/20           44/7         1/13 1/16    31/24
   39/7 39/12 applies   [1] ask  [13]      1/16  13/17  32/25 34/2
   40/7 41/17    37/2         17/5 22/24 21/9           50/7
   43/23      appreciate      29/22       Attorney's   be  [100]
   47/19        [2] 24/3      30/14        [1] 40/1 became [1]
   47/20 50/8 30/6            30/17 31/5 authorities 27/18
   52/22      approach        31/7 31/19 [1] 48/22 because
  anybody [4] [1] 23/13 39/17             authority     [25] 3/13
    3/9 8/25  appropriate     40/21        [1]   50/8   4/12 7/12
   45/7 49/7    [2] 30/11 50/14           authorized    15/23
  anyone [3]    48/13         53/12        [2] 27/3     18/17
   8/17 22/18 April   [10]    53/16        28/25        21/16
   44/22        30/17 31/7 asked [8]      available     24/22 25/1
  anything      32/13         19/3  22/25  [1]   25/19  26/4 26/14
   [4] 3/9      33/12         24/20 28/4 Avenue [4]     27/19
   19/18 45/8 37/16           35/5 40/12 1/17 2/8       28/14
   49/3         37/19         40/13        2/12  2/19   29/11
  anyway [2]    37/20         45/25       avoid [5]     29/21 30/3
   4/14 46/20   37/24       asking   [6]   11/15        32/15
  apologize     38/12         32/3 32/6    12/15 19/5 34/18
   [2] 21/25 47/12            32/7 45/1    19/9 34/1    45/19 48/6
              April   23      46/24  50/3               48/16
   44/1
                [1] 38/12 assess [2]      B             48/23 51/4
  apparently                              back [15]
   [5] 38/15  April  23rd     4/1  49/20                51/6 52/15
                                           10/12
   41/5 46/14 [1] 37/24 assist [1]         15/16
                                                        53/12
   47/18      April 9th       41/21                    been [16]
                [2]   30/17 assistance     15/22 18/1 5/8 6/24
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  appear [1]    33/12         [3] 40/14 21/10           6/25 9/24
              are [65]        41/5 48/24 21/21          11/8 11/14
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                                                                             [1]
  B
  been...      9/3          48/14        38/24        6/24
              between       48/15                    cards  [1]
   [10]
               [11] 9/2     50/18 51/8  C             5/1
   13/10                                call [7]
   21/16 25/1  11/2  11/18 bribe  [9]                careful  [1]
               12/20 15/5 8/3 8/3        9/20  14/1    37/5
   25/14                                 33/18
   25/24       16/25 20/1 8/4 8/5                    case [17]
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   26/22                                 37/11
   33/13       33/10 42/6 39/4 43/1                   6/19 6/22
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   37/14       12/14 15/7 briber [2] called [2]       8/9 12/8
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   47/22                                came [3]
  before [10]  44/12  50/9  48/21                     14/23
                                         15/15
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                                        camera [2]
   12/8 17/11 33/2 37/13 brief [2]       50/17
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              bit [4]      briefed [1]  can [35]      23/14
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   [1] 12/4                              11/2  12/21
  beginning   blinders      [8] 29/15                catalog [3]
               [1]   14/17  30/14        18/16 19/6    17/12
   [1] 5/9                               21/25
  begins [3] blowing [1] 33/16                        18/21 19/6
                                         29/15 31/3 categories
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              Blumberg      34/17        31/12        [3] 17/1
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  being [7]                              35/23
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              bore  [1]     34/14        38/8 38/9    45/22 46/7
  believe [9]                            38/18
    8/10 15/5 18/1         bring [1]
                                         40/20
                                                      46/10
   23/21      both [5]      31/12                    CCR [1]
               16/22  18/4 brings  [1]   41/11 43/7 54/6
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               43/12       broad [2]     48/13        12/10
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              Box [1]      brought [1]   50/15        [1] 3/22
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  believed     23/7          41/1
                                         53/18
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  benefit [1]  12/21  14/7  7/20                     centered
    51/4       14/22 15/2 buckets [1] 9/22 24/12 [1] 8/1
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  best [3]                               40/20
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               36/4 36/5    38/23       candidly     certain [4]
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                                                                                [1]
  C
  certain...   16/16 28/3 collect [1] component         19/4
   [2] 35/6    28/24          30/7        [2]   8/19  consolidate
   52/24       35/20        come [3]      8/20        d [1]
  certainly    36/13         34/22       comprehensi   45/22
   [6] 8/23    48/19         37/20 53/5 ve [1]        conspiracy
   26/17      clearly [2] comes [3]       20/4         [2] 8/6
   39/15        40/18        15/21  18/6 computer      39/10
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   50/20      client   [1]  commence     computer-ai   [1] 44/19
  certainty    37/2          [1] 27/9 ded [1]         constitutio
   [1] 30/22 clients'       Commencing    1/22        nal [2]
  certify [1]  [1]   7/2     [1]   1/9   concept  [3]  27/25
    54/2      close [1]     comments       17/17       42/20
  chain [1]    30/20         [2]   22/12  18/3  30/2  constructio
   39/11      closely [3] 46/7           concern [4] n [1]
  challenging   12/12       commit [1]     29/18       38/22
   [2] 24/5    19/16         24/12        33/22  42/5 constructiv
   26/13       19/20        common [2]    42/17       e [1]
  change [1]  co [1]         28/20  50/6 concerning    19/21
   36/15       44/19        communicati [1] 11/10 construed
  changes [1] co-conspira on [3]         concerns      [1] 19/6
    49/15     tor  [1]       17/13        [2]   17/3  contain  [1]
  characteriz 44/19          18/22        28/9          22/8
  ations [1]  COBURN   [13]  22/18       conclude     contemplate
   16/13        1/5 1/19 communicati [1] 53/21 s [2] 5/19
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